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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION


IN THE MATTER OF:

       WILLIAM L. SUMMERS                                             Case No: 1:12-MC-033
       Ohio Atty. Reg. No. 0013007                                    ChiefJudge Susan J. Dlott
                 RESPONDENT


                                     ORDER OF REINSTATEMENT

       This matter is before the Court for consideration of respondent's application for

reinstatement, (Doc. 8). Respondent was suspended from the practice of law in Ohio by the

Supreme Court of Ohio on March 22, 2012. On April 20, 2012 an Order to Show Cause why this

Court should not impose the identical discipline was served upon respondent by certified mail,

return receipt requested, and posted to this Courts official website. On June 8, 2012, having

no response filed with the Clerk, a reciprocal Order was issued suspending respondent from the

practice of law for a period of six months. On August 20, 2013 respondent filed an application for

reinstatement.

        Respondent avers that he is in compliance with the Supreme Court Order of March 22,

2012, and on December 8, 2012, the Supreme Court of Ohio reinstated him to the practice of law.

       Therefore, based on the averments stated in respondent's application for reinstatement,

and pursuant to Rule VII of the Model Federal Rules of Disciplinary, adopted by this Court on

February 1, 1979, respondent William L. Summers application for reinstatement, (Doc. 8) is hereby

GRANTED.

       The Court finds that Mr. Summers is fit to resume and is hereby permitted to practice law

before this Court.

       IT IS SO ORDERED.




                                                              Susan J. Dlott,  efJudge
                                                              United States District Court
                                                              Southern District of Ohio
